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UNITED STATES DISTRICT COURMOKC #:

SOUTHERN DISTRICT OF NEW WORK re: gILED: SEP #2019

 

 

 

UNITED STATES OF AMERICA
INFORMATION

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ELIAS HERBERT HAFEN,
a/k/a “Elias Niggebrugge, “

Defendant.

 

COUNT ONE
(Investment Adviser Fraud)

The United States Attorney charges:

RELEVANT ENTITIES AND INDIVIDUALS

 

1. At all times relevant to this Information, Firm-1 was
an investment bank and a dually registered investment adviser
and broker-dealer, headquartered in New York, New York. At ail
times relevant to this Information, Firm-i was registered with
the United States Securities and Exchange Commission (the “SEC”)
as an investment adviser.

2, At all times relevant to this Information, Firm-2 was
an investment bank and a dually registered investment adviser
and broker-dealer, headquartered in San Francisco, California,
with a regional office in, among other places, New York, New
York. At all times relevant to this Information, Firm-2 was

registered with the SEC as an investment adviser.

 
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3. From at least September 2013 to in or about March
2018, ELIAS HERBERT HAFEN, a/k/a “Elias Niggebrugge,” the
defendant, was an investment adviser and broker at the Manhattan
office of Firm-1l.

4. In or about March 2018, ELIAS HERBERT HAFEN, a/k/a
“Elias Niggebrugge,” the defendant, left Firm-1 and began
working as an investment adviser and broker at the Manhattan
office of Firm-2. Many of HAFEN’s clients at Firm-1 moved with
him to Firm-2.

5. At all times relevant to this Information, HAFEN was
registered with the SEC as an investment adviser representative.
OVERVIEW OF THE FRAUDULENT SCHEME

6. From at least in or about September 2013 through in or
about 2019, ELIAS HERBERT HAFEN, a/k/a “Elias Niggebrugge,” the
defendant, while acting as an investment adviser at Firm-1 and
Firm-2, defrauded at least eleven of his clients and their
family members (the “Victims”) by inducing the Victims to wire
money to HAFEN’s personal bank account based on HAFEN’S false
and misleading representations that the money was to be invested
in securities. In truth and in fact, however, and as HAFEN well
knew, there were no securities in which HAFEN was investing
Victim funds; instead, HAFEN was misappropriating the funds for

his own personal use.

 
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HAFEN INDUCES CLIENTS TO “INVEST” IN NON-EXISTENT SECURITIES

 

7. From at least in or about August 2013, ELIAS HERBERT
HAFEN, a/k/a “Elias Niggebrugge,” the defendant, represented to
certain of his clients that he had access to a special
investment fund that was not associated with the investment firm
at which he worked (the “Purported Securities”).

8. ELIAS HERBERT HAFEN, a/k/a “Elias Niggebrugge,” the
defendant, represented that the Purported Securities involved a
relatively high rate of return but relatively low risk. More
specifically, HAFEN represented to multiple of the Victims, in
substance and in part, that the Purported Securities involved a
guaranteed return of between 6% and 8%.

9, For example, in one email to a close relative of
multiple Victims, ELIAS HERBERT HAPFEN, a/k/a “Elias
Niggebrugge,” the defendant, described the Purported Securities
as follows:

Investment: short term loans
Term: 3 years w/optional annual creditor put
Feb.15 - approximately 7 months until put

exercise/maturity
Rate: 6% floor non annualized with floating rate

increase provision - approximately 10.3%
annualized

Protection: first loss protection/ senior
position

Payment: annual interest payment (Feb.15); full
principle (upon put option exercise each Feb,15)
Penalty: 1.5% per month after 30 days late

Can be terminated by debtor prematurely with
full annual interest payment

This is safe, secure, and boring.

 
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10. ELIAS HERBERT HAPEN, a/k/a “Elias Niggebrugge,” the
defendant, advised Victims that they should invest in the
Purported Securities. For example, in one email to a victim,
HAFEN wrote that his “advice” was “to allocate” a certain sum of
money to the investment fund, and that he and the victim would
later “review the situation and determine whether we feel
comfortable adding a little more.”

11. In order to prevent his employer from detecting his
fraud, ELIAS HERBERT HAFEN, a/k/a “Elias Niggebrugge,” the
defendant, instructed Victims to address all correspondence
regarding the Purported Securities to HAFEN’s personal email
account, rather than his business email account.

12. For example, in one email sent from his personal email
account, ELIAS HERBERT HAFEN, a/k/a “Elias Niggebrugge,” the
defendant, stated:

For accounting purposes and memorialization,
all correspondence should transpire through
this email address.

13. After ELIAS HERBERT HAFEN, a/k/a “Elias Niggebrugge,”
the defendant, fraudulently induced Victims to wire money to his
personal bank account, HAFEN perpetuated the falsehood that the
Victims’ money had been invested in securities by, in some

cases, providing Victims with an “Investor’s Statement” from

“EEN Investments,” which purported to provide the Victim with an

 

 

 
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update on the investment in the Purported Securities. For
example, the “Investor’s Statements” included data for specific
quarters including “Contribution” amounts, “Distribution”
amounts, “Net Profit/(Loss)” amounts, and “Balance” amounts.

The “Investor’s Statements” also instructed Victims that “If you
have any questions regarding this correspondence, please contact
your Client Service representative.”

14, In truth and in fact, however, and as ELIAS HERBERT
HAFEN, a/k/a “Elias Niggebrugge,” the defendant, well knew, “E&N
Investments” is a fictitious entity, the Victims’ money had
never been placed into any securities, and the “Investor’s
Statements” were fabricated documents intended to mislead
Victims into believing that HAFEN had invested their funds as
promised.

HAFEN CONVERTS INVESTOR FUNDS TO HIS PERSONAL USE

 

15. ELIAS HERBERT HAFEN, a/k/a “Elias Niggebrugge,” the
defendant, instructed Victims to wire funds to be invested in
the Purported Securities to his personal checking account,
purportedly so that HAFEN could invest the money on behalf of
the Victims as promised.

16. In truth and in fact, however, ELIAS HERBERT HAFEN,
a/k/a “Elias Niggebrugge,” the defendant, never invested the
Victims’ funds in any securities as promised. Rather, HAFEN

used the Victims’ funds to, among other things, fund his and his
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immediate family’s personal expenses, such as expensive artwork,
custom-made men’s accessories, credit card bills, mortgage
payments, student loans, and car lease payments.

STATUTORY ALLEGATIONS

 

17. From at least in or about August 2013 through in or
about 2019, in the Southern District of New York and elsewhere,
ELIAS HERBERT HAFEN, a/k/a “Elias Niggebrugge,” the defendant,
acting as an investment adviser with respect to his clients,
willfully and knowingly did use the mails and other means and
instrumentalities of interstate commerce, directly and
indirectly, (a) to employ a device, scheme, and artifice to
defraud clients and prospective clients; (b) to engage ina
transaction, practice, and course of business which operated as
a fraud and deceit upon clients and prospective clients; and
(c) to engage in an act, practice, and course of business which
was fraudulent, deceptive, and manipulative, to wit, HAFEN
fraudulently induced clients to invest in purported securities
through material misrepresentations and omissions and then
misappropriated those investor funds for his own purposes.

{Title 15, United States Code, Sections 80b-6 and 80b-17;
and Title 18, United States Code, Section 2.)

FORFEITURE ALLEGATION

 

18. As a result of committing the offense alleged in Count

One of this Information, ELIAS HERBERT HAFEN, a/k/a “Elias
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Niggebrugge,” the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 981 (a) (1) (C)
and Title 28, United States Code Section 2461(c), any and all
property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of said offense, including
but not limited to a sum of money in United States currency
representing the amount of proceeds traceable to the commission

of said offense.

 

Substitute Assets Provision
19. If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third party;

Cc. has been placed beyond the jurisdiction of the
court ;

d. has been substantially diminished in value; or
e. has been commingled with other property which

cannot be divided without difficulty;
it igs the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p) and Title 28, United States

Code Section 2461(c), to seek forfeiture of any other property

 
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of the defendant up to the value of the above forfeitable
property.

(Title 18, United States Code, Section 981;
Title 21, United States Code, Section 853;
Title 28, United States Code, Section 2461.)

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GEOFFREY ‘Ss. BERMAN
United States Attorney

 
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Form No. USA-33s8s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
Vv.

ELIAS HERBERT HAFEN,
a/k/a “Elias Niggebrugge,”

Defendant.

 

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(15 U.S.C. §§ 80b-6, 80b-17;
18 U.S.C. § 2.)

GEOFFREY S. BERMAN
United States Attorney

 

 
